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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                     )
In re:                               )
                                     )                                      Chapter 11
                                   1
HIGHLAND CAPITAL MANAGEMENT, L.P.,   )
                                     )                                      Case No. 19-34054 (SGJ)
            Reorganized Debtor.      )
                                     )
                                     )
HIGHLAND CAPITAL MANAGEMENT, L.P.    )
                                     )
                 Plaintiff,          )
vs.                                  )                                      Adv. Pro. No. 21-03003 (SGJ)
                                     )
JAMES D. DONDERO, NANCY DONDERO, AND )
THE DUGABOY INVESTMENT TRUST,        )
                                     )
                 Defendants.         )
                                     )

                                      CERTIFICATE OF SERVICE

      I, Aljaira Duarte, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned
case.

        On October 4, 2021, at my direction and under my supervision, employees of KCC
caused the following documents to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

     •   Plaintiff's Notice of Deposition to Nancy Dondero [Docket No. 95]

     •   Plaintiff's Notice of Deposition to James Dondero [Docket No. 96]



                                          (Continued on Next Page)




1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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   •   Plaintiff's Notice of Rule 30(b)(6) Deposition to The Dugaboy Investment Trust
       [Docket No. 97]


Dated: October 7, 2021
                                         /s/ Aljaira Duarte
                                         Aljaira Duarte
                                         KCC
                                         222 N Pacific Coast Highway, Suite 300
                                         El Segundo, CA 90245




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                             EXHIBIT A
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                                                                    Exhibit A
                                                              Adversary Service List
                                                             Served via Electronic Mail


              Description                    CreditorName                      CreditorNoticeName                               Email
                                                                                                               john@bondsellis.com;
                                                                                                               john.wilson@bondsellis.com;
                                                                       John Y. Bonds, III, John T. Wilson, IV, bryan.assink@bondsellis.com;
                                      Bonds Ellis Eppich Schafer       Bryan C. Assink, Clay M. Taylor,        clay.taylor@bondsellis.com;
 Counsel for James Dondero            Jones LLP                        William R. Howell, Jr.                  william.howell@bondsellis.com
 Financial Advisor to Official                                                                                 Earnestiena.Cheng@fticonsulting.com;
 Committee of Unsecured Creditors     FTI Consulting                   Earnestiena Cheng, Daniel H O'Brien Daniel.H.O'Brien@fticonsulting.com
 Counsel for Nancy Dondero            Greenberg Traurig, LLP           Daniel P. Elms                          elmsd@gtlaw.com
                                                                       Melissa S. Hayward, Zachery Z.          MHayward@HaywardFirm.com;
 Counsel for the Debtor               Hayward & Associates PLLC        Annable                                 ZAnnable@HaywardFirm.com
                                                                                                               ddraper@hellerdraper.com;
 Counsel for the Dugaboy Investment                                    Douglas S. Draper, Leslie A. Collins, lcollins@hellerdraper.com;
 Trust and Get Good Trust             Heller, Draper & Horn, L.L.C.    Greta M. Brouphy                        gbrouphy@hellerdraper.com
 Counsel for UBS Securities LLC and                                                                            andrew.clubok@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP             Andrew Clubok, Sarah Tomkowiak          sarah.tomkowiak@lw.com
 Counsel for UBS Securities LLC and                                                                            asif.attarwala@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP             Asif Attarwala, Kathryn K. George       Kathryn.George@lw.com
 Counsel for UBS Securities LLC and                                                                            jeff.bjork@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP             Jeffrey E. Bjork, Kimberly A. Posin     kim.posin@lw.com
 Counsel for UBS Securities LLC and                                                                            Zachary.Proulx@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP             Zachary F. Proulx, Jamie Wine           Jamie.Wine@lw.com
                                                                                                               mclemente@sidley.com;
                                                                       Matthew Clemente, Alyssa Russell,       alyssa.russell@sidley.com;
 Counsel for Official Committee of                                     Elliot A. Bromagen, Dennis M.           ebromagen@sidley.com;
 Unsecured Creditors                  Sidley Austin LLP                Twomey                                  dtwomey@sidley.com
                                                                                                               preid@sidley.com;
                                                                       Penny P. Reid, Paige Holden             pmontgomery@sidley.com;
 Counsel for Official Committee of                                     Montgomery, Juliana Hoffman,            jhoffman@sidley.com;
 Unsecured Creditors                  Sidley Austin LLP                Chandler M. Rognes                      crognes@sidley.com
 Counsel for Defendants James                                          Deborah Deitsch-Perez, Michael P.       deborah.deitschperez@stinson.com;
 Dondero and Nancy Dondero            Stinson LLP                      Aigen                                   michael.aigen@stinson.com




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                             EXHIBIT B
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                                                                           Exhibit B
                                                                     Adversary Service List
                                                                   Served via First Class Mail

              Description                    CreditorName                  CreditorNoticeName                    Address1                City     State    Zip
                                                                   John Y. Bonds, III, John T. Wilson,
                                     Bonds Ellis Eppich Schafer IV, Bryan C. Assink, Clay M. Taylor, 420 Throckmorton Street,
  Counsel for James Dondero          Jones LLP                     William R. Howell, Jr.              Suite 1000                    Fort Worth   TX      76102
                                                                                                       2200 Ross Avenue, Suite
  Counsel for Nancy Dondero          Greenberg Traurig, LLP        Daniel P. Elms                      5200                          Dallas       TX      75201
  Counsel for the Dugaboy Investment                               Douglas S. Draper, Leslie A.        650 Poydras Street, Suite
  Trust and Get Good Trust           Heller, Draper & Horn, L.L.C. Collins, Greta M. Brouphy           2500                          New Orleans LA       70130
  Counsel for UBS Securities LLC and                                                                   555 Eleventh Street, NW,
  UBS AG London Branch               Latham & Watkins LLP          Andrew Clubok, Sarah Tomkowiak Suite 1000                         Washington DC        20004
  Counsel for UBS Securities LLC and                                                                   330 North Wabash Avenue,
  UBS AG London Branch               Latham & Watkins LLP          Asif Attarwala, Kathryn K. George Ste. 2800                       Chicago      IL      60611
  Counsel for UBS Securities LLC and
  UBS AG London Branch               Latham & Watkins LLP          Jeffrey E. Bjork, Kimberly A. Posin 355 S. Grand Ave., Ste. 100   Los Angeles CA       90071
  Counsel for UBS Securities LLC and                                                                   1271 Avenue of the
  UBS AG London Branch               Latham & Watkins LLP          Zachary F. Proulx, Jamie Wine       Americas                      New York     NY      10020
  Counsel for Defendants James                                     Deborah Deitsch-Perez, Michael P. 3102 Oak Lawn Avenue,
  Dondero and Nancy Dondero          Stinson LLP                   Aigen                               Suite 777                     Dallas       TX      75219




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